
THREADGILL, Acting Chief Judge.
A.W., a juvenile, appeals an order adjudicating him delinquent of possession of alcohol by a minor and committing him to the Department of Juvenile Justice for an indeterminate term. The offense in this case is a second-degree misdemeanor. The statutory maximum sentence for the offense, as charged, is sixty days. § 775.082(4)(b), Fla. Stat. (2000). A disposition order that provides for an indeterminate period of commitment that exceeds the statutory maximum for the offense constitutes an illegal disposition. T.C. v. State, 736 So.2d 698 (Fla. 1st DCA 1998). The State concedes error in this case. We therefore reverse the disposition order and remand for entry of a new order that limits the commitment term to the statutory maximum for the offense. We affirm in all other respects.
WHATLEY and CASANUEVA, JJ., concur.
